                                                                            U.S. DISTRICT COURT
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                                                                       NORI'HBRNDISTRICT      1059
                                                                                         OF TEXAS
                                                                                 FILED

                         IN THE UNITED STATES DISTRIC COUR    f£~     2016          25
                         FOR THE NORTHERN DISTRICT 0 TEXA-.._ _ _J_
                                                                  b:_6_3-r---....
                                   WICHITA FALLS DIVISIO            .,_;.~U~CIJUICr

UNITED STATES OF AMERICA                         §
                                                 §
VS.                                              §        CRIMINAL NO. 7:15-CR-016-0
                                                 §
KIMBERLY PAULK SHAFFER (09)                      §


              REPORT OF ACTION AND RECOMMENDATION ON PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

       This Report of Action on Plea is submitted to the court pursuant to 28 U.S.C. § 636(b)(3).

This case has been referred by the United States district judge to the undersigned for the taking of

a guilty plea. The parties have consented to appear before a United States magistrate judge for

these purposes.

       The defendant appeared with counsel before the undersigned United States magistrate

judge who addressed the defendant personally in open court and informed the defendant of, and

determined that the defendant understood, the admonitions contained in Rule 11 of the Federal

Rules of Criminal Procedure.

       The defendant pled guilty to Count One (1) of the Indictment charging defendant with the

violation of21 U.S.C. § 846. The undersigned magistrate judge finds the following:

       l . The defendant, upon advice of counsel, has consented orally and in writing to
       enter this guilty plea before a magistrate judge subject to final approval and
       sentencing by the presiding district judge;

       2. The defendant fully understands the nature of the charges and penalties;



Report of Action and Recommendation On Plea
Before the United States Magistrate Judge
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        3. The defendant understands all constitutional and statutory rights and wishes to waive
        these rights, including right to a trial by jury and the right to appear before a United States
        district judge;

        4. The defendant's plea is made freely and voluntarily;

        5. The defendant is competent to enter this plea of guilty;

        6. There is a factual basis for this plea; and

        7. The ends of justice are served by acceptance of the defendant's plea of guilty.

        Although I have conducted these proceedings, accepted the defendant's plea of guilty, and

recommended that the United States District Judge find him guilty, upon the defendant's consent

and the referral from the United States district judge, that judge has the power to review my actions

in this proceeding and possesses final decision making authority. Thus, if the defendant has any

objections to the findings or any other action of the undersigned he should make those known to

the United States district judge within fourteen (14) days of today.

        I recommend that defendant' s plea of guilty be accepted and that the defendant be adjudged

guilty by the United States district judge and that sentence be imposed accordingly.

        Signed February 25, 2016.


                                                      ~ASJ<.. \2~
                                                      ROBERT K. ROACH
                                                      UNITED STATES MAGISTRATE JUDGE
